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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS
MARSHALL DIVISION

CASE NO.
JURY

SANDRA GRIFFIN, Individually And On §
Behalf Of All Other Persons Sirnilarly §
Situated, §
§
Plaintiffs, §
§
Vs. §
§
TYLER TRADITIONS, lNC. §
§
Defendant. §
§

PLAINTIFF’S ORIGINAL CLASS ACTION COMPLAINT
AND JURY TRIAL DEMAND

Plaintiff SANDRA GRIFFIN, individually and on behalf of all other persons similarly
situated, files this Plaintifi`s Original Class Action Complaint and Jury Trial Demand
complaining of Defendant TYLER TRADITlONS, lNC. This action is filed for violations of the
Fair and Accurate Credit Transactions Act of 2003 (FACTA), 15 U.S.C. § l681c (g)(l). Plaintiff
alleges as follows.

PARTIES

l. Plaintiff SANDRA GRIFFIN is a Texas citizen and resident of Van Zandt County, Texas.
2. Defendant TYLER TRADITIONS, INC. is a Texas corporation doing business in the

State of Texas With its principal place of business located at 6205 South Broadway,

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Tyler, Texas 75703 and whose registered agent for service of process is Kandice R.
Owens, 6205 South Broadway, Tyler, Texas 75 703.
JURISDITION AND VENUE
This Court has federal question jurisdiction over this case under 15 U.S.C. §1681p and 28
U.S.C. § 1331.
Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b) and (c), because: (i)
Defendant is actively doing business in this District; and (ii) Defendant committed the
acts that are the Subject of this action in this District.
FACTUAL ALLEGATIONS
ln 2003 Cong;ress enacted the Fair and Accurate Transaction Act (“FACTA”) to assist in
the prevention of identity theit and credit and debit card fraud. One section of FACTA
provides:
No person that accepts credit cards or debit cards for the transaction of
business shall print more than the last five digits of the card number or the

expiration date upon any receipt provided to the cardholder at the point of
sale or transaction.

15 U.S.C. § 1681c(g)(1).

FACTA generally gave merchants who accept credit cards andfor debit cards up to three
years to comply with its requirements, requiring full compliance with its provisions no
later than December 4, 2006. 15 U.S.C. § l68lc (g)(3).

Defendant regularly accepts credit and debit card charges as payment in its business.
Defendant regularly provides receipts of credit and debit card transactions to the

cardholder at the point of sale or transaction

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On and after December 4, 2006, Defendant regularly printed a receipt for its credit and
debit card transactions that Defendant provided to the cardholder at the point of safe or
transaction that included the expiration date.
On or about January 12, 2008, Plaintiff made a purchase at Defendants’ place of business
using a debit card. Defendant printed the expiration date on the receipt provided to the
Plaintiff at the point of the sale or transaction
CLASS ACTION ALLEGATIONS

Pursuant to FED. R. CIV. P. 23, Plaintiff brings this suit individually and as representative
of a class of similarly situated persons. The court should enter an order to certify a
plaintiff class consisting of:

All individuals who used their credit or debit card within the United States

in any Sale or transaction occurring after December 4, 2006, with TYLER

TRADITIONS, INC. Specifically excluded from the class are all federal

judges and members of their families within the first degree of

consanguinity, and the officers, directors and counsel of record of
Defendant.

The proposed plaintiff class meets the prerequisites of a class.

The class is so numerous that joinder of all members is impracticable Plaintiff is unable
to state the exact number of the members of the class without the discovery of
information available to Defendant, but upon information and belief avers that there are
hundreds of class members The number of the members of the class makes it
impracticable to bring them all before the court.

There are questions of law and fact common to the class. These questions predominate
over any questions affecting only individual members of the class. The questions of fact

and law affecting the class as a whole, include, but are not limited to:

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o whether the Defendants’ practice of printing credit and debit card receipts violates
15 U.S.C. § 168lc (g)(l);

whether Defendant’s violation was willful;

whether Defendant should be held liable for punitive damages;

whether Defendant is liable for attorney’s fees; and

whether the court should enjoin Defendant from further violating 15 U.S.C. §
1681c(g)(l).

Plaintist claims are typical of the claims of the class. The claims have the same
essential characteristics as the claims of the members of the class as a whole and are
based upon identical legal theories lt is the same course of conduct that serves as the
gravamen of the claims against Defendant. The members of the class have suffered the
same type of injury and possess the same interests as Plaintiff. The singie resolution of
these claims would be preferable to a multiplicity of similar actions.

Plaintiff, as the representative party, will fairly and adequately protect the interests of the
class. The counsel representing Plaintiff and the class are qualified, experienced and
able.

This suit is maintainable as a class action under Fed. R. Civ. P. 23(b)(3) because the
questions of law or fact common to the members of the class predominate over any
questions affecting only individual members, and a class action is superior to other
available methods for the fair and efficient adjudication of the controversy
Prcdominance. The questions of law or fact common to the members of the class
predominate over any questions affecting only individual members The underlying facts
are largely undisputed and liability will be determined as a matter of law. The few facts
that are disputed will be resolved without the participation of individual class members
Plaintift`s claims do not present individual questions of causation or reliance The facts

of Defendant’s practice are common to all members. The only issue not common to the

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class is the number of transactions by each class member. I-lowever, that issue will be
easily resolved from Defendant’s records.

Saperiority. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy Given the large size of the class, individual adjudication
of the claims would require thousands of lawsuits Moreover, intervention and joinder
would require the intervention or joinder of thousands of parties Individual adjudication,
intervention, and joinder, therefore, are not reasonable options. Class treatment is
superior to all other methods of adjudicating the claims of the putative class.

lndivz'dual control. The interests of members of the class in individually controlling the
prosecution or defense of separate actions do not outweigh the benefits of class treatment
Members of the class possess claims for economic damages that in most instances do not
exceed a few thousand dollars. Thus, no individual class member possesses an
overriding interest in the right to retain counsel and litigate to conclusion an individual
claim. In fact, individual adjudication of these claims remains Wholly impractical. The
class members would be compelled to spend substantially more money on attorney’s fees
and case costs to prosecute their individual claim than the amount of each individual
claim. The interest of members of the class in individually controlling the prosecution or
defense of separate actions, therefore, does not outweigh the benefits of class treatment
Otherfactors. Plaintiff is not aware of any other cases pending by or against members of
the class raising the claims asserted herein. This Court is the desirable forum for this
controversy because the Defendant transacts business in this District. No significant
difficulties are likely to be encountered in the management of a class action. Plaintiff

will be able to identify class members through discovery of Defendant’s extensive

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computer database storing information regarding past and present customers Thus, no
difficulties exist regarding the identification of class members
injunctive Relief. This suit is maintainable as a class action under Fed. R. Civ. P.
23(b)(2) because Defendant acted on grounds generally applicable to the members of the
class, thereby making appropriate final injunctive relief with respect to the class as a
whole.
C()UNT l
(Claim under Fair Credit Reporting Act)

Plaintiff hereby incorporates by reference the allegations contained in the above
paragraphs of this Complaint as if fully set forth herein.
The Fair and Accurate Credit Transactions Act of 2003 (FACTA) amended the Fair
Credit Reporting Act (FCRA), 15 U.S.C. 1681a et seq. Effective December 4, 2006,
FAC.TA prohibits merchants from printing more than the last five digits of a credit or
debit card number or the expiration date upon any receipt provided to the cardholder at
the point of the sale or transaction:

Except as otherwise provided in this subsection, no person that accepts

credit cards or debit cards for the transaction of business shall print more

than the last 5 digits of the card number or the expiration date upon any
receipt provided to the cardholder at the point of the sale or transaction

15 u.s.C. § marc (g)(l).
A willful violation of 15 U.S.C. § l681c (g)(l) gives rise to a private cause of action

under the FCRA as follows:

Any person who willfully fails to comply with any requirement imposed
under this subchapter with respect to any consumer is liable to that
consumer in an amount equal to the sum of--

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(1)(A) any actual damages sustained by the consumer as a result of the
failure or damages of not less than $100 and not more than $l,000; or ...;

(2) such amount of punitive damages as the court may allow; and

(3) in the case of any successful action to enforce any liability under this
section, the costs of the action together with reasonable attorney's fees as
determined by the court.

15 U.S.C. § 1681n (a),

Defendant knew of, or should have known of, and was informed about the requirement of
15 U.S.C. § 16Slc (g)(l), including specifically FACTA’s requirements concerning the
truncation of credit and debit card numbers and prohibition on printing of expiration
dates. For example, but without limitation, several years ago, on information and belief`,
VlSA, l\/fasterCard, the PCI Security Standards Council (a consortium founded by VlSA,
MasterCard, Discover, American Express and JCB}, companies that sell cash registers
and other devices for the processing of credit or debit card payments, and possibly other
entities informed Defendant about FACTA, including its specific requirements
concerning the truncation of credit card and debit card numbers and the prohibition on the
printing of expiration dates, and Defendant’s need to comply with the same. ln addition,
again on information and belief, Defendant’s contract with Visa and other credit card
companies require compliance with this FACTA requirement

Defendant willfully printed the expiration date of Plaintiff’s card at the point of the sale
or transaction with Plaintiffin violation of 15 U.S.C. § l681c (g)(l).

From December 4, 2006 to the present Defendant willfully printed the expiration date
of the Class Members’ cards at the point of the sale or transaction in violation of 15

u.s.C. § 1631¢ (g)(l).

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Plaintiff and the Plaintiff Class are entitled to recover of and from Defendant statutory
damages of not less than $100 and not more than 31,000 for each violation of FACTA.
Plaintiff and the Plaintiff Class are entitled to recover of and from Defendant the amount
of punitive damages as the court may allow.
Plaintiff has been required to engage the services of the undersigned attorneys to
prosecute this action. Plaintiff and the Plaintiff Class are entitled to recover of and from
Defendant reasonable attorney's fees as determined by the court
Plaintiff and the Plaintiff Class are entitled to recover of and from Defendant the costs of
this action.
Since December 4, 2006, Defendant has willfully failed to comply with the requirements
of 15 U.S.C. § 1681<: (g)(l) that “no person that accepts credit cards or debit cards for the
transaction of business shall print more than the last 5 digits of the card number or the
expiration date upon any receipt provided to the cardholder at the point of the sale or
transaction.” Therefore, Plaintiff requests that the Court issue a permanent injunction
enjoining and restraining Defendant from further violating 15 U.S.C. § 16810 (g)(l) and
ordering Defendant to cease and desist from printing more than the last 5 digits of a credit
or debit card number or the expiration date upon any receipt provided to the cardholder at
the point of the sale or transaction

JURY DEMAND

Plaintiffs request a trial by jury against Defendant on all issues triable as a matter of right

WHEREFORE, Plaintiff SANDRA GRlFFIN, individually and on behalf of all other

persons similarly situated, requests that Defendant be cited to appear and answer in this action,

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and that upon final trial of this cause, the Court issue judgment that Plaintiff and the Plaintiff
Class have and recover over and against Defendant TYLER TRADITIONS, INC. a judgment for
the statutory penalties made the basis of this lawsuit punitive damages, pre-judgment interest,
post judgment interest reasonable and necessary attorney’s fees, and costs of court, plus an
injunction against further violations of 15 U.S.C. § l681c (g)(l). Plaintiff SANDRA GRlFFlN,
individually and on behalf of all other persons similarly situated, also requests all other relief to

which the Plaintiff and the Plaintiff Class are justly entitled

Respecttiilly submitted,

  

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